The issues in this case are similar to those involved in the case of Olson v. Armour  Co., decided at this term, ante, 272,280 N.W. 200. In all, four cases were tried and appeal taken by the defendant in each case. Appellant says that the case of Olson v. Armour  Co. is typical of all four cases. An examination of the record shows this to be correct. The same points are involved. The amount of damages allowed is the main issue.
This case, therefore, is controlled by the decision in Olson v. Armour  Co. and for the reasons set forth in the opinion therein the judgment is affirmed.
CHRISTIANSON, Ch. J., and BURR and NUESSLE, JJ., concur.
MORRIS and SATHRE, JJ., dissent.